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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

IN RE:                                        )
                                              )
LETTER OF REQUEST FOR                         )
JUDICIAL ASSISTANCE FROM THE                  )
DISTRICT COURT OF BIAŁYSTOK,                  )
POLAND:                                       )      No. 18 C 413
JOHNA STANLEYA OBIREK v.                      )
DOROTY OBIREK                                 )
                                              )

     EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782(a)

         John R. Lausch, Jr., United States Attorney for the Northern District of Illinois, by the

undersigned Assistant United States Attorney, Megan Donohue, petitions this Court for an Order

pursuant to 28 U.S.C. § 1782(a), appointing Megan Donohue, Assistant United States Attorney,

as Commissioner for the purposes of obtaining documents from TCF Bank. Certain information

has been requested by the District Court of Białystok, Poland, Judge Podpis Sędziego, presiding

pursuant to a Letter of Request issued by that court in connection with a civil judicial proceeding

in that court captioned: Johna Stanleya Obirek v. Doroty Obirek, Ref No. II Ns 1948/16.

                                                     Respectfully submitted,

                                                     JOHN R. LAUSCH, Jr.
                                                     United States Attorney

                                                     By: s/Megan Donohue
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